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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                             :
                                             :          CIVIL ACTION
CARLA CAIN,                                  :
                    Plaintiff,               :
                                             :
      v.                                     :          No.   22-0360
                                             :
CINDY BASS.                                  :
                    Defendants.              :


                                     ORDER

      AND NOW, this 5th day of December 2022, upon consideration of

Plaintiff’s Motion for Preliminary Injunction (ECF No. 15), Defendants’ Response

(ECF No. 36, 37), Plaintiff’s Proposed Findings of Fact and Conclusions of Law

(ECF No. 35), Defendants’ Proposed Findings of Fact and Conclusions of Law

(ECF No. 38), and additional memoranda (ECF No. 39, 41), as well as the full

evidentiary hearing on the Motion held on September 13, 2022 (ECF No. 33), it is

hereby ORDERED that the Motion is DENIED.



                                                  BY THE COURT:

                                                  /s/ Chad F. Kenney

                                                  CHAD F. KENNEY, JUDGE



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